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  If I see him out, I’m gonna gun him down.

  This nigga Bleek a cop so I gun him down,

  100 shots out the chop, gun him down

  This shit aint gonna stop til I gun him down.

  If I see him out, I’m gonna gun him down.

  This nigga Bleek a cop so I gun him down,

  100 shots out the chop, gun him down

  This shit ain’t gonna stop til I gun him down.

  This nigga Bleek a cop so I gun him down, when I catch him slippin won’t play around.

  Silencer on the Mac won’t make a sound.

  Run up on some ops, gun em down.

  Team full of killers, don’t play around.

  Only want the money, don’t want the town,

  If you want war, we at you now,

  On my way with some blues, I’m in and out

  Everybody hate I don’t care, sent the feds to the crib, I ain’t there.

  They say my phone tapped, I don’t care.

  I been catching bodies, didn’t get a tear.

  Beefing with gangs, that be everywhere, 50 out the .40 bitch I’m never scared.

  What a one on one, we don’t fight fair,

  I’m about to make your momma have a nightmare.

  If I see him out, I’m gonna gun him down.

  This nigga Bleek a cop so I gun him down,

  100 shots out the chop, gun him down

  This shit aint gonna stop til I gun him down.

  If I see him out, I’m gonna gun him down.

  This nigga Bleek a cop so I gun him down,

  100 shots out the chop, gun him down

  This shit ain’t gonna stop til I gun him down.
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                                                           EXHIBIT            3
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  If I see a pussy, I’m a drop him,

  100 round drum up in that choppa

  All my niggas eating like they monsters,

  We don’t fuck with ya’ll like that so don’t be acting for no Oscars.

  I’m the shit without the toilet I don’t hoop but I be balling,

  I got roochies on the stoolie and my youngin got the toolie.

  We be shootin we be shootin, you be ducking, you be ducking.

  Ya little homie got shot up and you did nothing.

  You ain’t got my fucking money you eat nothing.

  You ain’t getting fucking money so stop fronting.

  And my [UI] keep my flooded so my watch is double flooded,

  Double cupping off that drink I got that [UI] up in my suite

  Ain’t got some classes on my feet, got your ho between my sheets

  I’m a G, said I’m a G, I don’t think you want the beat, I keep that heat, I keep that heat

  And if I catch a nigga slippin he get that heat.

  If I see him out, I’m gonna gun him down.

  This nigga Bleek a cop so I gun him down,

  100 shots out the chop, gun him down

  This shit aint gonna stop til I gun him down.

  If I see him out, I’m gonna gun him down.

  This nigga Bleek a cop so I gun him down,

  100 shots out the chop, gun him down

  This shit ain’t gonna stop til I gun him down.
